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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :      Case No. 21-cr-00053 (CJN)
                                           :
              v.                           :
                                           :
EDWARD JACOB LANG                          :


                                    NOTICE OF FILING

      The government requests that the attached discovery letter, dated March 26, 2021, be
made part of the record in this case.

                                                  Respectfully submitted,

                                                  CHANNING D. PHILLIPS
                                                  Acting United States Attorney


                                            By:   _/s/ Melissa Jackson______________
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